Case 1:04-cr-10050-.]DT Document 33 Filed 05/12/05 Page 1 of 2 gayle 34

051§__

0
iN rHE UNrrED sTArES DISTRICT coURr 5”4r , “ 00
FoR THE WESTERN DISTRICT or rENNEsSE,E,__
EASTERN DlvlsloN asst-arp

UNITED srATEs oF AMERICA, ;*`Y‘-' rtc f .
Plaintiff,
VS- No. 04-10050_T
BILLY WAYNE MooRE,
Defendant.

ORDER CONTINU]NG TRlAL
AND EXCLUDING DELAY

 

Upon motion of counsel for defendant Billy Wayne Moore and for good cause shown,
the trial date Which is currently scheduled for May 16, 2005, is hereby continued Defendant
contends that additional time is needed for preparation for the trial.

The court finds that the defendant’s need for a continuance for additional preparation
outweighs the best interests of the public and the defendant in a speedy trial; therefore, the ends
of justice Will be served by granting a continuance in order to allow the defendant more time to
prepare for trial. Accordin,qlv. the trial is continued from Mav 16. 2005. to Julv 13i 2005. at
9:30 A.M. The resulting period of delay, from May 16, 2005, to July 13, 2005, is excluded
pursuant to 18 U.S.C. § 3161(h)(8)(A).

A new report date is scheduled for July 5, 2005, at 8:30 a.m.

 

 

ir ls so 0RDERED_
. 23 ¢ M
1 S D. ToDD
UN ED STATES DIsrRICT JUDGE
DATE d
Thls document entered on the docket sheet tn oon:tSsnce
with Rule 55 and!or 32{b} FRCrP on

DISTRIC COURT - WESRNTE D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number 33 in
case 1:04-CR-10050 Was distributed by faX, mail, or direct printing on
May 12, 2005 to the parties listed.

 

 

.l eff Mueller

LAW OFFICES OF JEFF MUELLER
P.O. Box 3146

Jackson, TN 38303

.l ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable .l ames Todd
US DISTRICT COURT

